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UNITED STATES DISTRIcT CoURT
DISTRICT oF RHoDE IsLAND

MAYRA F. PENA,
PLAINTIFF

V. : C.A. NO. 15-CV-()0179-S-LDA

HONEYWELL INTERNATIONAL INC.,

DEFENDANT.

PLAINTIFF MAYRA PENA’s STATEMENT oF UNDISPUTED FAcTs

Pursuant to Rule 56 of the Federal Rules of Civil Procedure and LR cv 56 of the Local Rules
of the United States District Court for the District of Rhode lsland, Plaintiff Mayra Pena hereby sets
forth this Statement of Undisputed Facts (“PSUF”) in connection with her Opposition to
Defendant Honeywell lnternational lnc.’s Motion for Summary]udgment. Pena States that the
following facts are undisputed:

l. ln or about ZOOZ, North Safety Proclucts hired Pena as a “l\/lachine Operator” and
“Associate Assembler” as a temporary employee (Pena Dep. at 1523-20, 16:1~7).

2. ln or about 2008, Defendant Honeywell acquired North Safety Products and retained Pena
as an “Associate Assembler.” (Pena Dep. at 15:3-20, 1621~7; Ryan Dep. at 25:12"15).

3. Honeywell cross-trained employees so they would be able to work in the Molding Room on
an as needed basis to account for unexpected exigencies (such as a worker being out,
Vacations, or an unexpected large order), rather than on a consistent basis. (`Dyer Dep. at
41:3~20).

4. \Workers in the molding department cannot control the flow of the work; the machines eject

a new part every thirty seconds (Ryan Dep. at SO:lG-ZS, 5l:l, 51:19~25).

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ln contrast, employees control the operation of the machines in the other departments
(Ryan Dep. at 50:16-25).

Because of this, some Honeywell employees indicated that they prefer to work in areas other
than the molding department because they do not have to rush to keep up with the flow of
the machines (Ryan Dep. at 49216-24; Dyer Dep. at 35:3-5; Gouveia Dep. at 36:20~37:25).
Employees have also expressed a dislike of the molding department because they have more
opportunity to socialize in other departments (Ryan Dep. 53:21-25, 5421-7).

Pena typically worked in the respiratory department (Ryan Dep. at l6:4-7; Ryan Dep. at
30:12-13, 37:16~38, 39:8-11).

In or about late February 2013, Pena told l\/ls. Fermin that she did not want to work in the
l\/lolding Room. (Gouveia Dep. at 37:10-12).

ln February 2013, Pena told Gouveia that Fermin did not allow her to take breaks she
needed because of her diabetes (Ex_. V)

ln or about l\/larch 2013, l\/layra Fermin, Pena’s cell leader, again rotated Pena to the Molding
Room. (Gouveia Dep. at 37210-12).

On or about March 7, 2013, Mr. Gouveia met with Pena, l\/lr. Ryan and l\/lr. Dyer to discuss
Pena’s claim that she could not work in the l\/lolding Room. (Ryan Dep. at 47:19-24).

Pena told Mr. Gouveia that she did not want to work in the l\/Iolding Room because “it was
harmful to [her] emotionally.” (Pena Dep. 43:21-24).

Honeywell knew that Pena had anxiety and depression (_Ex_. A~G, l; Gouveia Dep. at 67:5-6;
Jennison Dep. at 24:2-1(); Pena Aff.).

ln fact, Pena had previously taken FMLA medical leaves for seasonal depression (Doc. No.

27-1 at 4, n.3); (Pena Aff.).

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Pena explained to l\/lr. Gouveia that the l\/lolding Room made her feel nervous and that she

would get a doctor’s note that confirmed this. (Gouveia Dep. at 38:25, 39:1, 4l:3-5, 41:9»11,

42:8-1 l).

Pena obtained a note from her doctor, Dr. lames Greer, dated l\/larch 4, 2013, and her

husband delivered it to Honeywell on l\/Iarch 8, 2013. (E_x_ A; Pena Dep. at 50215-l9;

Gouveia Dep. at 48:5-7).

Dr. Greer’s l\/larch 4, 2013 note stated:
Pena is a patient under my care at this agency where she has received counseling and
medication services Currently [Plaintiff] is reporting exacerbation of her anxiety
symptoms which are interfering with her ability to function She reports that these
specifically occur when she is being sent to the molding room as opposed to the
more typical duties to which she is accustomed l am requesting that you assist her in
other placements than in this setting as her condition is being directly exacerbated by

working conditions there.
She is completely capable of working in other settings

(_l§_lx_. A).

Mr. Gouveia read the note and ascertained that Pena suffered from anxiety, which worsened
when she was in the molding room. (Gouveia Dep. at 57:17-22, 58:4-8, 59:9-13).

l\/lr. Gouveia also understood from the note that Pena’s doctor was requesting that she be
placed elsewhere in the facility where she was capable of working (Gouveia Dep. at 59:9~25,
60:1-3).

Dr. Elizabeth lennison also reviewed the l\/larch 4, 2013 note. Gennison Dep. at 22:18-23,
23:2~17).

Dr, ]ennison understood from the letter that Pena was being treated for anxiety, which she
knew to be a psychological disorder Oennison Dep. at 24:2*10).

Mr. Ryan, as Health and Safety and Environmental Site Leader, also reviewed Dr. Greer’s

March 4, 2013 note. (Ryan Dep. at 68:2-6, 70:l2-l7).

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l\/lr. Ryan felt that the note was unacceptable and asked Pena to provide another note. (Ryan

Dep. at 62:18-21, 68213~15, 79:9~11).

Mr, Ryan and Mr. Gouveia informed Pena that the only work they had was in l\/lolding, and

if she couldn’t do it then she could go home. (Ryan Dep. at 80:8“12; Gouveia Dep. at 64:8~

ll, 17~20).

Pena called her daughter to pick her up because she was unable to work in the l\/lolding

Room. (Pena Dep. at 52118-53:2).

Pena never returned to the Honeywell Cranston facility after this day. (Gouveia Dep. at 64:9-

20).

l\/lr. Gouveia provided Pena with a Reasonable Accommodation Request Form. (Pena Dep.

at 59:17-60:2; Gouveia Dep. 70:24~71:3).

ln April 2013, Pena submitted to Honeywell a letter from Dr. Greer dated April 2, 2013, and

a Reasonable Accommodations Request Form. (Exs. B, l).

Pena completed her portion of the form, indicating that she was c‘unable to work in

molding” because “the noise, speed, and overall environment gives [her] anxiety, palpitations

[sic]” and requesting that she “cont:inue to work in Heppa [sic], not molding.” (_E_x_. l)

Rather than complete his portion of the form, Dr. Greer wrote a letter to Honeywell, stating:
Pena presented me with a request for information regarding a “Reasonable
Accommodation Request Form” which she is submitting Pena has been a patient
under my care at this agency since 2010, and has been involved in mental health
treatment since approximately 2005. She carries diagnosis of l\/lajor Depressive
Disorder, Recurrent, Severe. She receives both counseling services as well as
medication management for this condition ..
With regards to her situation at work, she reports that she was functioning well in
her previous position but when moved to a new one experienced significant
increases in her level of stress which have had a notable negative impact on her
condition She is eager to return to work in her previous capacity but l can state with
a reasonable degree of medical certainty that continued assignment to the more

recent work setting will result in worsening stress and further exacerbation of her
condition

(E§_. B).

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On April 2, 2013, Dr. Elizabeth ]ennison wrote to Dr. Greer, noting that she did not
understand how “Pena’s anxiety symptoms could allow her to work in many areas of the
plant, while interfering with her ability to function in one area of the plant, the molding
room.” (LL H).

On April 8, 2013, l\/lr. Gouveia wrote to Pena reiterating that Honeywell had communicated

with Dr. Greer “to release [Pena’s] medical records to [Honeywell’sl medical department

<.E.. J).
On April 22, 2013, Mr. Gouveia again wrote to Pena, reminding her that she had “the option
to return to work, including working in the injection l\/lolding Department, or continue to
stay out on an unpaid leave of absence.” (l§l_x K).

On April 23, 2013 Attorney Kot wrote to Attorney Rolfs asking for “any form and/ or
additional question or clarification you would like [Pena’s] doctor to provide” and “a copy of
Honeywell’s policy and/ or instructions for how requests for workplace accommodations
should be handled” to ensure that Defendant had all the information it needed. (l_§_x__ L).
Attorney Kot’s letter also expressed objection to providing “all of [`Pena’s] senstivie medical
records, including mental health records,” as this amounted to an “unnecessary and
prohibited intrusion upon [Pena’s] privacy.” <ld_.)

Attorney Kot emphasized in her letter that Pena was “more than willing to perform work
with accommodations as specified by her doctor.” (_lgl_.)

On April 30, 2013, Attorney Kot wrote to Attorney Rolfs to inform her that even though
Dr. Greer had already provided Honeywell with two notes requesting a reasonable
accommodation of Pena’s disability, that he would provide a third. (E_x l\/l)

On l\/lay 6, 2013 Attorney Veronika Kot wrote to jacqueline Rolfs as follows:

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Enclosed you will find the third letter from Pena’s doctor, Doctor Greer. `\X/hile each
of his previous letters should have been sufficient to ensure Pena’s reinstatement
with accommodations for her disability, taken together there is no doubt that they
provide ample information to answer all of Honeywell’s’ [sic] questions, as indicated
on Honeywell’s questionnaire regarding disability accommodations and/ or in
Honeywell’s policies

Doctor Greer has clearly indicated the nature of the disability (depression and
anxiety), its anticipated duration (indefinite) and the necessary accommodations
(work in any of the other departments of Honeywell where Pena has successfully
worked for the past 11 years). ..

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Attorney Kot’s letter included a note dated April 29, 2013 from Dr. Greer again explaining
that Pena:

has reported repeatedly and consistently that she finds this new environment to be
highly stressful, referencing a variety of factors which included increased noise levels,
chemical odors and the presence of robotics in the molding room which have
resulted in a significant exacerbation of her anxiety symptoms

(E_x; C).

The note also included four progress notes dated l\/larch 4, l\/larch 12, l\/larch 18, and April
22, 2013 describing Pena’s symptoms (E_x_. D~G).

The l\/larch 18, 2013 progress note indicates that Dr. Greer contacted l~loneywell and left a
message in an attempt to discuss Pena’s condition with Defendant Honeywell. Q;:_x_ F).

On l\/lay 22, 2013, Attorney Rolfs again rejected Pena’s doctor’s notes (EL C)).

On or about lurie 17, 2013, Defendant terminated Pena for job abandonment (_lj:_x_ P).
Pena’s psychiatrist Dr. Greer recommended that Pena file for SSDl benefits (Pena Aff.),

Pena’s SSDl lawyer advised her to use March 8, 2013, her last day of work, as the date of the
onset of her disability (_ld_).

\When Pena stated on her SSDl application that she was unable to work as of l\/larch 8, 2013,
she meant that she was totally disabled only for the purposes of receiving SSDl benefits
The SSDl application did not ask if she needed any accommodations of a disability in order
to work and no one at any of the hearings asked. Had she been asked, she would have
responded, “Yes.” (ld__)

Had Honeywell granted Pena’s accommodation request, she would have gone back to work,
and she would not have filed for SSDl benefits (l<_l_.)

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49. Pena filed for SSDl benefits because she could no longer work due to her worsening
depression, and she needed a source of income to pay her bills (ld_.)

Dated: l\/Iarch 29, 2017

MAYRA PENA
By Her Attorneys,

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CERTIFICATE oF SERvicE

l hereby certify that on this _2ch day of l\/larch 201_7_, l caused the foregoing document to be
electronically filed with the Court’s Cl\/l/ECF system. The following counsel-of~record have been

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